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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 NATIONAL WOMEN’S LAW CENTER,                    )
 et al.                                          )
                                                 )
        Plaintiffs,                              )
                                                 )   Civil Action No. 17-2458 (TSC)
                v.                               )
                                                 )
 OFFICE OF MANAGEMENT AND                        )
 BUDGET, et al.                                  )
                                                 )
        Defendants.                              )


                           DEFENDANTS’ MOTION TO DISMISS
                               PLAINTIFFS’ COMPLAINT

       Defendants Office of Management and Budget (“OMB”), John Michael Mulvaney, in his

official capacity as Director of OMB, Neomi Rao, in her official capacity as Administrator of the

Office of Information and Regulatory Affairs (“OIRA”), the United States Equal Employment

Opportunity Commission (“the EEOC”), and Victoria A. Lipnic, in her official capacity as Acting

Chair of the EEOC, by and through undersigned counsel, respectfully submit this Motion to

Dismiss Plaintiffs’ Complaint. As set forth in Defendants’ accompanying Memorandum of Law,

this case should be dismissed for either of two threshold reasons. Plaintiffs’ claims should be

dismissed pursuant to Federal Rule of Civil Procedure 12(b)(1) because Plaintiffs have failed to

demonstrate that they have standing to pursue their claims thus depriving this Court of subject

matter jurisdiction. And if the Court concludes that Plaintiffs have standing to pursue their claims,

this suit nevertheless merits dismissal under Federal Rule of Civil Procedure 12(b)(6) because

Plaintiffs do not challenge final agency action under the Administrative Procedure Act.

       Accordingly, for the above-stated reasons, and those explained more fully in the

accompanying Memorandum, Defendants respectfully request that the Court dismiss this action.
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Dated: February 13, 2018           Respectfully submitted,
                                   CHAD A. READLER
                                   Acting Assistant Attorney General

                                   JESSIE K. LIU
                                   U.S. Attorney for the District of Columbia

                                   CARLOTTA WELLS
                                   Assistant Branch Director, Federal Programs Branch

                                   /s/ Tamra T. Moore
                                   Tamra T. Moore (DC Bar No. 488392)
                                   Rachael L. Westmoreland (GA Bar No. 539498)
                                   Trial Attorneys
                                   Federal Programs Branch
                                   U.S. Department of Justice, Civil Division
                                   Telephone: (202) 305-8628
                                   Fax: (202) 305-8517
                                   Email: Tamra.Moore@usdoj.gov

                                   Mailing Address:
                                   Post Office Box 883
                                   Washington, DC 20044




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                               CERTIFICATE OF SERVICE

       The undersigned certifies that this Motion to Dismiss Plaintiffs’ Complaint was served on

all counsel of record via the Court’s CM/ECF system on this 13th day of February 2018.



                                            /s/ Tamra T. Moore
                                            TAMRA T. MOORE




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